Case 1:25-cv-07240-ESK-EAP    Document 1       Filed 06/04/25      Page 1 of 12 PageID: 1




                                                         RECEI\/ED
                                                            '''N
                                                           .,u      4 2025
U.S. DSI1'R1CT COURT
DISTRICT OF NEW JERSEY

ALAN 1"ALCON                 CIVIL ACTION NO,•••••••••••••••
PLAINTIFF

vs.

COMMISSIONEK VICTORIA L. KUHN ESQ.
(PAST) COMMSISSIONER WILLIE BONDS
GSYY A»MIN. JOHN JANE DOE
GSYF SUPERVISOR S.I.D. JOHN JAN~ DGE
GSYF MAJOR JOHN JANE DBE
GSYF LT. JOHN JANE IJOE
GSYF SGT. JOHN JANE DUE
GSYF s.c.P.o. HEBREW
SUED I .NIHVIDUAL AND l :It THEIR 01-'FICIAL
CAPACITIY
DEFENDANT*S

la. JUKIDCITIONAL IS ASSERTED TO 42 U.S.C. 1983 (APPLIES TO

STATE PRISONER).

lb.                          JUR1SDIC1'ION -

THE COURT HAS JURISDICTIONAL OVER PLAI~IFF*S CLAIMS OF VIOLATION
OF FEDERAL CONSTITUTIONAL RIGHTS UNDER 42 u.s.c. 1331 AND 1343.

l~.   THE COURT HAS SUPPLEMtNTAL JURISDICTION OVER PLAI~IFF*S
STATE LAW CLAIMS UNDER 2ij u.s.c. 1367.

1 d. I ll>ICATE WHJffHEk rou ARH A .PRISONER CON FI IiED AS 1''0LLOWS
X. CONVICTED AND SENTENCED STATE PRISONER.

2. ~RtVIOUSLY DISMISSAL F~DERAL ACTI ON OR APPEALS.



                                      1.
Case 1:25-cv-07240-ESK-EAP   Document 1      Filed 06/04/25   Page 2 of 12 PageID: 2




    N. A.




     NAME ALAN FALCON #1309~36 #186605(H)
     ADDRESS EA-S·T- JERSEY STATE. PRISON
     100 W()OD BRID.G.E, RD .
   . RAHWAY, NJ 07065


    4.         FIRST ·AND · SEC0ND · -

   NAME CiMMISSIONER VICTORIA L. KUHN ESQ. AND (PAST) DEPUTY
   COMMISSIONER WILLIE BONDS .
   OFFICIAL POSITION. OVERSEES OPERATIONAL GARDEN STATE YOUTH
   FACILITY, COEPT iEDERAL FUNDING TO PROVIDE SAFETY,SECURITY
   FOR INMATES,PRISONERS AT THE FACILITY, IMPLEMENT P0LICY,
   PROCEDURE TO N.J.D.o.c. SIATE WIDE ADMINISTRATORS, CUSTODY*S
   SPECIAL INTELLIGENCE DIVISION .
   PLACE OF EMPLOYMENT STATE OF NEW JERSEY D.o.c. WHITLESEY RD.
   P. O. BOX 863 T~ENTON, NJ b8683

   5. DEFENDANT*S COMMSSSIONER VICTORIA L. KUHN AND (PAST)
   DEPUTY COMMISSIONER WILLIE BONDS          VIOLATED PLAINTIFF EIGHTH

   AMENDMENT   CRUEL AND UNUSUAL PUNISHMENT, CONSPIRING WITH
  GARDEN STATE YOUTH FACILITY TO ALTER            THE RECBRDS OF ASSAULT
   AT GARDEN STATE YOUTH FACILITY TO RECEIVE FEDERAL FUNDING,NOT
   REPORTING THE ASSAULT AT FACILITY , FAILURE TO OVERSEE,

   GARDEN STATE YOUTH FACILITY          ADMI ItISTRATION ,CUSTODY•S
   SPECIAL I~ELLI~ENCE DIVISION ,MAJ6R*S,LT.*S,SGT*S. S~C.P.O.
   HEBREW,MAKING SURE     THE DEFENDANT*S ARE TRAIN IN RESPONDING
  TO MEDICAL EMERGENCY       ,SAFETY,SECURITY , CUST0DY*S DOING
  SECURITY WALKS IN HOUSING UNIT TO PREVENT AASAULT ON PLAINTIFF
                                  ? -
Case 1:25-cv-07240-ESK-EAP      Document 1      Filed 06/04/25    Page 3 of 12 PageID: 3




 (12.3U.2O23)    ALLOW!NG THE DEFENUANtS fO CUNSPIKE WlTH EACH OTHER
TO TRNASftK PLAlNTifF TO ANOTHER FAC!LlTY * tAST JERSEY STAtt PR!
SON* to COVtR UP tttt ASSAULT ON PLAINTIF~                ktSULT WlfH CONCUSS10


1NC1DENT NEVtK HAPPEN ,MlSUSt OY ~tD~KAL ¥LINUS 10 OVERSEE
UPEKATIONAL ~AKllEN STATE ruutH ¥AC1LITY HY NO T                 PKUVIVING
SA¥Etr, SECUK1TY F PR!SON ANO UNPKO~tSSIONAL ,CUSTOpr•s stA¥¥.


6.                    THIRD D~1"EN iJAN'f


NAME ADMINISTRATION JOHN JANE DOE
OFr'ICIAL .POSITION ACCEPT FEDEi<A.t.. GKANT MUNEY FRUM COMMISSIONER
KUHN IO OPEKATE THE PKISON i t PKOVIDING SAPETr,sE~UIRTY MEASURE
TU Pk1SUNER IN HOUSING UNITS ,PROVIDlNG Pk0¥ESS10NAL custunr•s
TU UVE~SEES HOUSIN6 UNlfS, MAKIN~ SURE CUSTODYS DOING SECURITY
CHECKS AND UVERS~ES SPECIAL INTtLLIGENCE VlVlSIONS DEPT.
PLACE OF EMPLOYMENT GAKDEN STATE YOUTH ¥AGILITY
      P.O . BOX 11401 HIGH BRIDGE RD . YARDVILLE , NJ 08620



l. D~¥ENDANT ADM1NlSfiAt10N JOHN,JANM DOE VlOLAftD PLAlNTlfY

Kl ~HfH AM~NUMtN T     ,CRUEL AND UNUSUAL PUNl~HMENT ,CUNSPlRING WITH
Hl uHtK ,LOWEK   ,CUSTODY*S      .s.CP.O.      HEBREW , MAJOR , LT. SGT. JOHN
JANE DOE TO COVER UP THE ASSAULT ON PLAlNT1¥¥ (ll.J0.lUlJ) ,~AST
2A   WlNG UAr. KUOM     FAILUUKE    T9   PKEVENT     ASSAULT UN PLAINTIFF ,
FAiLUKE tU PROTECt,FAILUkE TU tKAlN, IN KES~ONDING TO MEDICAL
CODES, YAILURE TO ALLOW cusruur•s vu SECUK lT Y WALKS,KNOWlNGLt
s.c.P.o. HEHKEW WALK PASS PLAINTI F~ CELL#lU8               PASS OUT UNCUNSCIUU
S ,BRAIN bLEEDING FKOM ASSAULT ,            CONSP I RE W11 H HIGHER LEVEL
CUS t UDY *S TU TKAN SPER PLAlNTl~Y TU EA ST JER SEY STATE PKI SON.
TO CO VER
Case 1:25-cv-07240-ESK-EAP                 Document 1           Filed 06/04/25     Page 4 of 12 PageID: 4



                                       .    -                                 •.

   UP THE ASSAULT,DELIBERATELY INDIFFERENCE TO A SERIOUS MEDICAL
        '                                                   .
   NEED FAILURE TO PROVIDE A ONGOING NEUROLOGIST TO PLAINTIFF AFTER
                                                                       ....
   HE WAS RELEASE FROM OUTiIDE HOSPITAL TO CHECK IF HE NEED
                                                                                             ..
                     . .           .
   FURTHER 8EDICAL TREATMENT •• FAILURE TO RELIEVE s.a.P.O HEBREW
   OF HIS JOB DUTIES KN9WIN~LY HE FAIL TO PROPER MAINTAIN PROPER
   SECURITY OF THE HOUSING UNIT WHICH COULD PREVENT PLAINTIFF FROM
                                                       '•


   BEING ASSAULTED BY 3 TO 4 INMATES.


   B.                      FOURTH DEFENDANT



    .       .   -·                     .        .. .
  NAME SUPERVISOR SPECIAL INTELLIGENCE DIVISION JOH.JANE DOE
  @tFICIAL POSITION SWORN LAW ENFORCEMENT OFFICERS ACT AS ~EACE
  OFFICERS FOR THE DETECTION,A~REST,CONVICTION OF CJIMINAL
  OFFENSE~ INVESTIGATING ALLEGED IMPROPE~ ILLEG~L BEHAVIOUR
  COMMITTED BY n.o.c:. EMPLOYEES, ALLEGATIONS OF OFfICER
  MISCONDUCT,VIDEa INVESTIGATION OF ILLEGAL ACTIViTY, UNDER* IAPP*
  INTERNAL AFFAIRS POiICES AND PROCEDUtES - N.J.S.A.2A.154.4 ,TAKE
  ORDERS FROM . DEPUTY COMMISSIONER WILLIE BOMDS TO INVESTIGATE
  CRIMINAL ACTIVITY WITHIN FACILITY.
  PLACE OF EMPLOYMENT GARDEN STATE YOUTH FACILITY
   P~O. HOX 11401 HIGH BRIDGH RD . YARDVILLE, NJ 08620




  9. DEFENDANT JOHN JANE DOE SPECIAL INTELLIGENCE DIVISION
  VIOL~TED PLAiNTIFF EIGHTH AMENDMENT CRUEL AND UNUSUAL
  PUNISHME~T ,CONSPIRING WITH GARD~N STATE YOUTH FACILITY
  DEFENDANT*S TO COVER UP PAPER WORK WHEN PLAINTIFF WAS ASSAULTED
  ON EAST 2A HOUSING UNIT DAY ROOM, (12.30.2023) , FAIL TO INTERVIE
  W PLAINTIFF AFTER HE WAS RELEASED FROM THE HOSPITAL ,CINSPIRE WIT
  H DEFENDANTS TO TRANSFER PLAINTIFF TO EAST Ji RSEY STATE PRISON
  WHEN HE WAS RELEASE @UT OF HOSPITAL, , VIOLATION SPECIAL INTELLIGEN
  CE DIVISION POLICY * iT"•_·pp• NJ SA          . . . . ·2A 154 .4 .6 .3
Case 1:25-cv-07240-ESK-EAP                          Document 1   Filed 06/04/25         Page 5 of 12 PageID: 5




   NOT CONDUCTING                          A INTERVIEW ON MAJOR, LT. SGT. s.c.P.O. HEBREW
                            ,   ~                                                 ...                 -
   KNWOINGLY s.c. P.O. HEBREW FAIL TO DO SECURITY CHECKS WAL[ THRO-UHS
   @N EAST 2A WING HOUSING UNIT, FAIL TO ADMINSTER PROPER HEIICAL
                                                                              .. .
  • ATTENTION WHEN PLAINTIFF WAS LAYED OUT UNCONSCIOUS RESULT INTO
   PLAINTIFF BRAIN BLEEDiNG,KNOWINGLY s.c.P.O. WAITED 30 MINUTES TO
   1 HOUR TO CALL MEDitAL CODt,CONSP~RING TO COVE~UP,DESTROY EVIDENC
   E OF VIDEO ON (12.30.2023) ASSAULT ON PLAINTIFF BY 3 TO 4 INMATES
   CREATE A FILE ON MAJOR, LT. SGT. s.c.P.O. HEBREW, TO SUBMIT
                                    . ,.                     -

   DEPUTY (PAST) COMMISSI~NER WILLIE BONDS,



   10. FIBTH . ,SIXTH, .:AND -SEVENTH --DEFEND.UfTS .-

         .                                   .. .   . .
    NAMES _MAJOR, L.T. SGT. JOHN, JANE DOES __        .
    OFFICIAL POSITION OVERSEES GARDEN STATE YOUTH FACILITY LOWER
    i:EVEL CUSTODY•S 'IMPLEMENT POLICY. PRC)CEDURES' S.A_FETY. SECURITY OF
    PRISON,RESPONDING TO LOWER LEVEL CUSTODY*S CODES, 'l'AKING _ORDERS
    FROM ADMINIST.RATION ,MAll:ING SURE LOWER__LEVEL CUSTODYf'S __ F0L_LOWING
    p~orocoi, POLICl: . PROCEDURE AND REsro.N_DI NG TO MEDICAL..J~HERGENCY. BY
    PRISONERS,MAKING SURE LOWER LEVEL CUSTODY*S DOING SAFET( SECUITY
  . CHECKS IN HOUSING . UNITS t FIL.LING QUT .INCIDENT REPOirrs . INVOLVING
    INMATES ,ASSAULT ,FIGHTING AM.C>NG INMATES, INVESTIGA'J'.I0N VI_DEO*S
    IN HOUSING UNlT*S,SAVING VIDEO* S BY PASSING TO SPECIAL INTELLIEGE
    NCE DIVISISON •      .
    PLACE OF EMPLOYMENT GARDEN STATE YOUTH FACILITY

     P. O. BO X 11 401 HIGH B~I LJb E RD. YA RDVILLE , NJ 08620


   11. DEFENDANT*S MAJOR ,LT.SGT . JOH N.JANE DOE VIOLATED
   PLAINTIFF EIGHTH AMENDMENT CRUEL AND UNUS UAL PUNISHMENT,CONSPIRE
                 .. .
   COVER ASSAULT ON PLAINTIFF ( 12.30 . 20 23) WITH DEFENDANT s.o.P.O.
   HEBREW IN EA ST 2A WI NG HOUSING UNIT DAY ROOM, CONSPIRING WI TH
   s.c.P.O. HEBREW TO DESTROY EVIDENCE OF VIDEO ON ( 12. 30.2023)
             .          .
   NOT       RELIEVING                     s.c . P. o . HEBREW UIS JO"B DUTIES PEN DI NG
   INVESTIGATION                    OF :
Case 1:25-cv-07240-ESK-EAP        Document 1   Filed 06/04/25   Page 6 of 12 PageID: 6




 PLAINTIFF ASSAULT BY 3 TO 4 INMATES, KNOWINGLY s.c.P.O. HEBREW
 WASNT DOIN-G SAFETY ,SEC-URITY CHECKS IN HOUSING UNIT BEFORE AND
                      .   -   .
 AFTER ASSAULT ON PLAINTIFF,COULD HAVE BEEN PREVENTED IF s.o.P.O.
 HEBREW WAS DOING SECURITY CHECKS IN HOUSING ONIT, CONS.PRING WITH
 SPECIAL H!TELLIGENCE DIVISION AND ADMINISTRATION TO DESTROY
 EVIDENCE OF VIDEO ASSAULT ·»ONE ON PLAINTIFF (12.30.2023) EAST 2A
 'HOUSING UNIT,   CONSPIRE WITH ADMINSTRATION ,. SPECIAL INTELLIGENCE
 DIVISION NOT TO NOTIFY PLAINTIFF MOTHER HE WAS ASSAULTED BY 3 TO
 4 INMATES, UNCONSCIOUS, BRAIN BLEEDING, HAD TO SEE A OUTSIDE
 DoceoR TO ADDRESS HIS INJURIES, ....
 DELIBERATELY INDIFFERENC'E KNOWINGLY ,CONSPIRE WITH s.c.P.O.
 HEBREW ,ADMINSTRATION ,SPECIAL INTELLIGENCE DIVISION, NOT TO
 CALL MEIDCAL CODE WHILE PLAINTIFF WAS UNCONSCIOUS FOR 30 TO 1
 HOUR ON HIS FLOOR, RESULT INTO CONCUSSION ., BRAIN BLEEDING, THEN
 DECIDE TO CALL A CODE , TRANSFER TO OUTSIDE HOSPITAL FOR HEAD
 INJURIES RESULT INTO ONGOING PAIN IN HEAD. ETC.


 12.                          EIGHTH D'EFENDANT

 NAME s.c.P.O. HEBREW
 OFFICIAL POSITlQN. OVERSEES SAF~TY,SECURITY HQUSING UNIT EAST
 2 A WING ,IMPLEMENT ORDERS TO PRISONERS, CONDUCT SAFETY,SECURITY
 WALK THROUGHS,SECURITY CHECKS OF CELLS, EVERY . 15 MINUTES, POLICY
 PROCEDURES HABDED D9WN FROM ADMINSTRAJION ,HIGHER LEVEL CUSTODY*S
 MAJOR, LT. SGT • . , R~SPONDIN~ .TO EMERGENCY .CODES IN. HOUSING UNIT
 MEDICAL,FICHTS BETWEEN INMATES~ CALLING FOR BACKUUP,FILING INCIDE
 NT ~EP0.RTS ETC.              .    • . . ._ .   . .. _
 PLACE OF EMPLOYMENT. GARDEN STATE YOUTH FACILITY

   P.O . BOX 11401 HIGH BRIDGE ~LJ . YARDVILLE , NJ 08620
Case 1:25-cv-07240-ESK-EAP           Document 1                                     Filed 06/04/25               Page 7 of 12 PageID: 7




          --                                                                                 ..     -
   13. DEFENDANT s.c.P.O. HEBREW VIOLATED PLAINTIFF EIGHTH
   AMENDMENT CRUEL AND UNUSUAL PUNISHMENT ,CONSPIRE WITH DEFENDANTS
   AT GARDEN STATE YOUTH FACILITY TB COVER UP THE ASSAULT ,DESTR©Y
   VIDEO EVIDENCE OF ASSAULT 0N PLAINTr°FF (12.30.2023)                                                                 FAIL
   TO PROPER   DO SECURITY CHECKS IN EAST 2 A HOUSING UNIT,
   KNOWINGLY PLAINTIFF WAS UNCONSCIOUS ,LAY OUT IN HIS CELL, FAIL
   TO CALL A MEDICAL CODE 30 MIN. TO 1 HOUR ,FAIL TO MAINTAIN POST
   PREVENT ASSAULT ON PLAINTIFF BY 07HER I rtMATES ,FAIL TO KEEP
   PLAINTIFF SAFE FROM OTHER PRISONERS ,FAIL TO PROTECT AND
   00NSPIRE WITH THE DEFENDANTS NOT TO NOTIFY PLAI~TIFF MeTHER WITH
   LIFE THREATEN INJURIES, ..... DELIBERATE INDIFFERENCE TO A SERIOUS
   MEDICAL NEED BY WITHHOLDING MEDICAL AID 3o MI 11. TO 1 HOUR WHILE
   PLAINTIFF LAY OUT    UNCONSCIOUS                                        INTO A CONCUSSION, BRAIN BLEEDING
  OR SWOLLEN, VIOLATION OF NEW JERSEY PROFESSIONAL RULES OF
  MISCONDUCT FOR CORRECTIONAL POLICE OFFICERS AND 2a.30 OFFICIAL
  MISCONDUCT ..

  14. PLAINTIFF EXHAUSTED ALL AVAILABLE REMEDIES ONCE RELEASE
  OUT OF TRENTON, NJ CAPITAL HEALTH HOSPITAL WHILE A'T GARDEN STATE
  YOUTH FACILITY.


  15.                    -
                             STATEMENT OF FAOTS
                             -   -   -   ~   "   ••   ••   •   -   N   •   ,•   -   ••   -    ,~   ••   ••   •




  16. ON OR ABOUT JANUARY 25,2623 PLAINTIFF ARRIVE AT GARDEN STATE
  YOUTH FACILITY.

  17. PLAINTIFF WAS PLACE ON EAST 2 A WING HOUSING UNIT CELL#208.

                                                           7.
Case 1:25-cv-07240-ESK-EAP    Document 1               Filed 06/04/25        Page 8 of 12 PageID: 8




   18. WHILE PLAINTIFF WAS ON EAST 2A WING HOUSING UNIT HW WITNESS
   s.c.P.O. HEBREW NOT DOING SECURITY CHECKS ,SECURITY CELL CHECKS
   OR WALK THROUGHS •

 • 19. THIS LEAD TO INMATES STEALING ON THE UNIT BY GOING INSIDE OF
   PLAINTIFF AND OTHER PRISONERS CELLS.

   20. ON OR ABOUT JAN~AR~ 27,2023 TO DECEMBER 30,2023 THIS STEALING
  WENT ON IN EAST 2A H06SI If; UNIT.

  21. s.c.P.o. HEBREW KNEW INMATE MCCALL AND OTHER INMATES WAS
  DOING THE STEALING ON THE UNIT AND HAD OUT FRR PLAINTIFF BECAUSE
  OF HIS COMPLAINTS OF CELL D00R OPEN AND ITEMS MISSING.

  22; ON OR ABOUT DECEMBER 30.2023 9.00 A.M. PLAINTIFF ENCOUNTER
  INMATE MO CALL AND 3 OTHER : INMATE·s
                                                           •

  23. IMHATE MC CALL AND 3 iNMATES APPROACH PLAINTIFF AND ASSAULT

HIM ON EAST 2A HOUSING UNIT DAY ROOM.


24. PLAINTIFF WAS HIT        AND KICK IN THE HEAD BU INMATE MC CALL
AND 3 OTHER PRISONERS.

25. PLAINTIFF WAS LAY OUT UNCONSCIOUS AND OTHER PRISONERS HAD TO
                                   .   .   .   .   .   .

PICK UP HIM AND CARRY TO HIS CELL#208.
                                                               4 '   . - -




26~ s.c.P.O. HEBREW WITNESS THIS,FAIL TO CALL A OODE AND HIS
IMMEDIATELY SUPER-VISOR.
 . .      .
27. PLAINTIFF WAS IJNCONSCIOUS IN HIS CELl.#208 ON THE FLOOR 30 MIN

TO 1 HOUR.
                                       a.
  Case 1:25-cv-07240-ESK-EAP     Document 1   Filed 06/04/25   Page 9 of 12 PageID: 9




 28. S.P.u. H.E.tsKEW DIDNT    DO ANY SEOURIT\' CHECKS,SECURITY WALK
THKOUGH ON PLAIN'l'lFfi' MtDlCAL 00NlH1".lONS.

l9. ON 0~ ABOUT DE0£MBtK 30,2023 10.00 A.M. tAST 2 A WING HOUSING
UNIT .s.c.P.O. HEBREW CAME TO PLAINTIFF CELL#2U8.

30. ~LAINTIFF WASNT RESPONDING TO s.c~P~U. HEBREW

31. s.c.P.O. HEBREW TH~N CALL A MEDICAL CObt.


32. ON OK AHOUT D~DCEMB~R 30,2023 12~00 PM. PLAINTIFF WOKE UP AT

TRENTON, NJ CAPITAL HEALTH HOSPITAL.

JJ.   PLAINTIFF WAS INFORM HE HAD A HEAD CONCUSSION AND ffIS BRAIN .
WAS BLEElHNG.

J4.   PLAINTIFF MOTHEk WASN*T NOTIFY ABOUT THE ASSAULT OR TRANSYER
TO OUTSIDE H©SPITAL iN TRENTON ,NJ CAPITAL HEALTH HOSPITAL~

35. ON OR ABOUT JANUARY 2,2024 PLAINTIFF WAS RELEASE FROM TRENTON
NJ CAPITAL H~AtTH HOSPITAL.

36.   PLA.LNTIF1'' WAS 'fRANSFt;M BACK TO GARDEN STATE YOUTH FACILITY
AND PLACE   IN INFiiMAKY.

3 7. ADMINISTRATION,   SPECIAL INTELLIGENC~ lJIVISIUN, MAJOK, LT. SGT
BOHN? JANE D0E OK s.c.P.o. HEBREW NiVER CAME ro SEE PLAINTIFF
F'IL~ A INCIDENT   REPORT AS~AUL1' (12.30.2023) OR OHEOK ON HIS MEDIC
AL CONDlT:.&.ON.
Case 1:25-cv-07240-ESK-EAP   Document 1     Filed 06/04/25   Page 10 of 12 PageID: 10




 38. ON OJ< ABOUT JANUARY 8,2024 PLAINTI.ft'F WAS TkA.NSFER TO EAST JER

SEY STATE l'RISON.

39. ON UR ABOUT JANUARY 16,2024 PLAINTIFF MOTHEI< CONTACT EAS'f uER
SEY STATE PRISON FOLLOW l!1P ON PLAINTII-'1'~ MEDICAL OONDI'l'ION •

40. PLAINTIFF SEN A NEUR'OLUGIST SPECIALIST AT EAST JERSEY S'l'ATE
PRISON TO CHECK ON BLEEDING IN PLAINTIFf B~AIN.

41. THt D~t~NDANT*S AT GAKDEN STATE PilSON YOUTH FACILITY NVEK
ON.t; 'l'lMl!; TKY TO CONTACT PLAlNT11"F TO FIND OUT A.BOUT HIS WELL BEIN
G OR FILE ANY TYPE OF INCIDENT REPORT.

42.0N OR ABOUT JANUARY lb,2024 TU THIS PREStNT MOMtNT PLAlNTifF
DEEN EXP!!;l<llNCE HEAD ACHE AND PAIN · .

43,.PLAlN'fI .t-'i'' IS UNDER THE CARE OF EAST JERSEY STATE PRISON MBDICA

L DtPAKTMENT AND TAKING PAIN MEDICATION FOK HIS HEAD INJURY FROM
GARDEN STATE YOUTH FACILITY (12.30.2023).




45. THE DELIBERATE INDIFFER~NCE TO StRIOUS MEDICAL NEED               FAlLURE
TO GALL MEDlUAL COOM 30 MIN. TO l HOUR, RESULT INTO CONCUSSION,
BKA!N BLE~DlNG. v1oiATED PLAIN11FY ALAN FALCOK klGHTS AND
UONSTitUTED UNDER CRUEL AND UNUSUAL PUNISHMENT ~FAILURE TO PROTEC
T, FAILURE TO TRAIN, COVERUP ,DESTROY EVIDENCE OF ASSAULT UNDER
THE EIGHTH AMENDMENT AT ISSUE TO THE UNITED STATES CONSTITUTION.


46.   T"E ~LAINTIFF HAS NO FLAN, ADEQUATE OK COMPLETE REMEDY AT
•   Case 1:25-cv-07240-ESK-EAP   Document 1    Filed 06/04/25   Page 11 of 12 PageID: 11




    LAW ~o redress the wrongs descibe h~rein~ plainfiff has been and
    WILL CONTINUE     TO BE IRREPARABLE INJURY BY THE CONDUOT OF THE
    D~F~NDANTS ,ADVARSARIES AT EAST JERSEY STATE P•rsON MEIICAL IF
    THEY DECIDE '1'0 STOP ALL MEDICAL 'fREATMENT. UNLESS '!'HIS COURT
    ~kA NT THE DECLARATORY AND INJUNCTIVE iELI-F WHIOH PLAINTIFF NEED.

    4T.




             WHEKEFOkt ,PLAINTIFF RESPECTFULLY PRAYS THAT THIS COURT
    ENTER JUDGEMENT GRANTING PLAINTIFF.


    48. A DECLARATION THAT 'l'H& AC'l'S AND OMISSION DESUUtO HlRtl"'
    VIOLATED PLAINI'IFF*S RIGHTS UNDER THE CONSITUTION AND LAWS OF THE
    UNITED STATES.

    49. A PRELIMINARY INJUCTION ORDER DEFENDANT COMMSISSIONEK
    VlCTUKlA L. KUHN TO UKDBK PLAl~lFF CONTINUE TO SEE OUTSIDE NEURO
    LOGISt MAKING SURE HIS BRAIN IS NUT BLEEDING, MEDICAL TREATMENT
    FOR ONGOING MEDICAL PROBLEM WITH CONSTANT HEAD ACHE AND NOTIFY
    HIS MOTHER ABOUT HIS MEDICAL CONDITION.


    5U. COMPENSATION    DAMAGES $5000,00U.UO AGAINST EACH DEFENDANT,
    JOINTLY AND SEVEkALLY.

    Sl. PUNTIVE DAMAGES IN THE AMOUNT OF $b0UO,@Oo.oo AGAINST EACH

    D.ltl•'ENDANTS 00MMISSIONER VIl;TDlUA L.   KUHN , (PAST) DEPUTY    OOMMISSlO
    N~K WlLLll BONDS, SPECIAL INTELLIGENCE DlV!SlON, MAJOk, LT., SGT.
    ADMlNSTKATUKS JOHN.JANE DOE*S, AND s.c.P.o. HEBRE~ AND THE THE
    AMOUNT OF $75,000.0U     AGAllST EACH DEFENDANT.

                                   ll.
•       Case 1:25-cv-07240-ESK-EAP   Document 1     Filed 06/04/25   Page 12 of 12 PageID: 12
    .




    52. A JURY TRIAL ON ALL ISSUES

    53. ANY ADDITIONAL RELIEF THAT THIS COUKT DEEM, JUST, PKOPER AND
    EQUITAliLE.




    1, MK. ALAN FALCON HEREBY CERTIFY THAT THE 42 U.S.C. 1983
    COMPLAINT• l1'' P lo'Ol<MS • 6 MONTH ACCT. BAL. ,A1''1''Al>AVI1' IH JASPEk
    1''RAZIER IS TRUE AND CORRECT       5     DAY    OF t,J\O. ~      2025
    CERTIFIED, REGISTER LEGAL MAIL POSTAGE J7019.l970.0001.1492.1858
    USING MAIL BOX RULE HQUSTON v. LACK. 4M7,u.s.,16b,273,76,l08 s .CT

    2379 (1988)




                                     S. A AN FALC0N #1309936, 186605(H)
                                     EAST JEl<SEY STATE PRISON
                                     1100 WOOD BRIDGE RD.
                                     RAHWAY, NJ 07065

    Ci.ERK OF COURT
    U.S. DISTRICT COUkT
    FEDERAL COURT HOUSE
    402 EAST STATE STREET
    TRtNTON, NJ 08608




                                            1 '.L
